Case 2:97-cr-20234-.]PI\/| Document 110 Filed 08/04/05 Page 1 of 3 Page|D 79
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE ,~_-H_E$ jva D_C

 

 

WESTERN DIVIsIoN
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UNITED sTATEs 0F AMERICA )
a v ) "r
Plamuff, ) 97-20236-M1
) 97-20237-M1
vs ) 97-2023s-M1
) 97-20239-M1
EDD]E JETER ) 97-20240-M1
) 97-20241-M1
Defendam. ) 05-20014-M1

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI-MEMPHIS
(SCP), 1101 John A. Denie Road, Memphis, TN 38138 by 2:00 P.M., *TUESDAY, SEPTEMBER
§1_2_0_0_5_=

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, F ederal Oftice Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the (`/ day of August, 2005.

M@W@@Z;

JO PHIPPS McCALLA
U ITED STATES DISTRICT JUDGE

//CJ

This document entered on the docket sheet in corr phaan
wlth Ftule 55 and/or 32{b) FRCrP on

   

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ACKNOWLEDGIV[ENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 110 in
case 2:97-CR-20234 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listedl

 

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Honorable J on McCalla
US DISTRICT COURT

